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 3
                            UNITED STATES DISTRICT COURT
 4
                          EASTERN DISTRICT OF WASHINGTON
 5
 6 UNITED STATES OF AMERICA,                       No. CR-13-012-RMP-3
 7              Plaintiff,
   vs.                                             ORDER GRANTING UNOPPOSED
 8
                                                   MOTION TO MODIFY
 9 SHANNON STILTNER,
10
                          Defendant.
11
12         Before the court is Defendant’s Stipulated Motion to Modify. ECF No. 114.
13   The court has reviewed the submitted material and relevant authority.
14         IT IS ORDERED Defendant’s Stipulated Motion to Modify, ECF No. 114,
15   is GRANTED. Defendant is allowed to attend the referenced event, so long as
16   there are no case-related discussions.
17         The District Court Executive is directed to enter this Order and distribute
18   copies to counsel.
19         DATED April 23, 2013.
20
                                S/ CYNTHIA IMBROGNO
21
                          UNITED STATES MAGISTRATE JUDGE
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     ORDER GRANTING UNOPPOSED MOTION TO MODIFY - 1
